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4                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
5                                     AT SEATTLE
6
7      NANNETTE BASA,
8
                                    Plaintiff(s),   CASE NO.
9                                                   2:21−cv−00754−MLP
                           v.
10                                                  DISMISSAL ORDER
       BRAND SHARED SERVICES LLC,
11
12                                Defendant(s).

13         The Court having been notified of the settlement of this case, and it appearing
14   that no issue remains for the court's determination,
15         IT IS ORDERED that this action and all claims asserted herein are DISMISSED
16   with prejudice and without costs to any party.
17         In the event that the settlement is not perfected, any party may move to reopen
18   the case, provided that such motion is filed within forty−five (45) days of this order.
19   Any trial date and pretrial dates previously set are hereby VACATED.
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21         IT IS SO ORDERED The 26th of October 2022
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23
24                                            MICHELLE L. PETERSON
                                              United States Magistrate Judge
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     DISMISSAL ORDER − 1
